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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                MEMORANDUM

Honorable Edward J. Garcia
Senior United States District Judge
Sacramento, California

                                        RE:   Alice PETERSON
                                              Docket Number: 2:07CR00126-01
                                              CONTINUANCE OF JUDGMENT
                                              AND SENTENCING

Your Honor:

Per agreement with both counsel, it is respectfully requested that the above-referenced
case be continued from 02/29/2008 to 04/25/2008 at 10AM. (See attached amended
Schedule for Disclosure.)

REASON FOR CONTINUANCE: The parties agree the defendant's sentencing should
follow resolution of the co-defendant's cases.

By copy of this memorandum, the Court Clerk is being requested to make appropriate
changes in the Court calendar.

                                Respectfully submitted,



                                 LINDA L. ALGER
                       Senior United States Probation Officer

REVIEWED BY:
                    KAREN A. MEUSLING
                    Supervising United States Probation Officer

Dated:        January 30, 2008
              Sacramento, California
              LLA

Attachment




                                          1                                                    R ev. 08/2007
                                                              C O N T IN U A N C E ~ T O JU D G E (E JG ).M R G
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RE:   Alice PETERSON
      Docket Number: 2:07CR126-01
      CONTINUANCE OF JUDGMENT AND SENTENCING


cc:   Clerk, United States District Court
      United States Attorney's Office
      United States Marshal's Office
      Federal Defender (If defense counsel is court-appointed)
      Probation Office Calendar clerk



 XX   Approved           /s/ Edward J. Garcia                                       1/30/08
                         EDWARD J. GARCIA
                         Senior United States District Judge                       Date
      Disapproved




                                          2                                                   R ev. 08/2007
                                                             C O N T IN U A N C E ~ T O JU D G E (E JG ).M R G
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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                    Docket Number: 2:07CR00126-01

                    Plaintiff,              SCHEDULE FOR DISCLOSURE OF
                                            PRESENTENCE REPORT AND FOR
      vs.                                   FILING OF OBJECTIONS TO THE
                                            PRESENTENCE REPORT
Alice Peterson

                    Defendant.


The Probation Officer and all parties shall adhere to this schedule unless it is later
modified by this Court:

    Judgment and Sentencing Date:                         04/25/2008 @ 10am


    Motion for Correction of the Presentence Report
    shall be filed with the Court and served on the
    Probation Officer and opposing counsel no later
    than:                                                 04/18/2008


    The Presentence Report shall be filed with the
    Court and disclosed to counsel no later than:         04/11/2008


    Counsel's written objections to the Presentence
    Report shall be delivered to the Probation Officer
    and opposing counsel no later than:                   04/04/2008


    The proposed Presentence Report shall be
    disclosed to counsel no later than:                   03/21/2008




                                           3                                                  R ev. 08/2007
                                                             C O N T IN U A N C E ~ T O JU D G E (E JG ).M R G
